Case 2:04-cv-02597-.]PI\/|-tmp Document 45 Filed 08/10/05 Page 1 ot 2 Page|D 52

 

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IN THE uNtTEl) sTATES nlsTRlCT COURT ~-~ o.c,
FOR THE wEsTERN nlsTRICT oF TENNESSEE 95 AUG l
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.1AMES I. BURLIsoN ) 111131,l ` 'ffflil.€l,g!QURt
RODNEY L. wAITS ) '
BUFORD o’NEAL TANKERSLE¥ )
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Plainrirfs, )
)
v. ) No. 2;04€\1259'1 ar Ml
)
uNITEI) STATES oF AMERICA, )
)
Defendants. l

 

ORDER ALLOWING PLAINTIFFS’ MOTION OF LEAVE TO RENEW
PLAIN'I`IFFS’ M()TION FOR SUMMARY .]UDGMENT
BEYOND DISPOSlTlVE MOTION DEADLINE OF .IULY 16, 2005

 

THlS cause came on to be heard upon Plaintiffs’ l\/lotion of Leave to Renew Plaintit`fs’
Motion for Summary Judgment Beyond Dispositive Motion Deadline ofJuly 16, 2005, and

lt appearing, according to the certificate of consultation ofcounsel, and representations
made to the Court that counsel for the Defendant does not object to the motion to renew the
previously filed motion for summaryjudgment,

IT IS, THEREFORE, ORDERED that the Plaintiffs be allowed to renew their motion for

summary judgment and be allowed to file any additional relevant materials

so oRDERED this j_Oday 01Augusr,2005. c
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Th'rs document entered on the docket sheet in compliance

with Ftule 58 and/or 79{a) FHCP on -/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:04-CV-02597 was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

ESSEE

 

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Honorable .l on McCalla
US DISTRICT COURT

